9 F.3d 1544
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Daughton W. LACEY, JR., Plaintiff-Appellant,and Melvin R. Jenkins;  J. Strother;  C. Anderson;  E.Asher; David Maddox Plaintiffs,v.Lonnie M. SAUNDERS, Defendant-Appellee.
    No. 93-6536.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 25, 1993.Decided:  November 15, 1993.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.
      Daughton W. Lacey, Jr., Appellant Pro Se.
      Robert Harkness Herring, Jr., Assistant Attorney General, for Appellee.
      Before ERVIN, Chief Judge, and PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Appellant appeals from the district court's orders denying relief on his 42 U.S.C. § 1983 (1988) complaint and denying his motion for reconsideration.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Lacey v. Saunders, No. CA-9296-R (W.D. Va.  Mar. 22, 1993;  Apr. 15, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    